Case 5:24-cv-12647-JEL-KGA ECF No. 38, PagelD.752 Filed 11/22/24 Page1of5

UNITED STATES DISTRICT COURT E | L E

EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION NOV 22 2024
CLERKS OFFice
DERRICK LEE CARDELLO-SMITH, #267009, DETROIT
Plaintiff,
Case No 2:24-cv-12647
SEAN COMBS, Hon. Judith Levy
Defendant, /

PLAINTIFF CLARIFICATION TO THE COURT AS
TO DISCOVERY OF THE RAPE KIT TEST RESULTS
BEING PROVIDED TO PLAINTIFF BY THE
OFFICE OF THE WAYNE COUNTY PROSECUTOR
KYM L. WORTHY AND PLACED IN POSSESSION OF THE MDOC
PRIOR TO REQUEST FOR SUBMISSION TO THIS COURT FOR EVIDENCE REASONS

Now comes the Plaintiff, Derrick Lee Cardello-Smith in the above cause and
hereby provides this Statement to the Court that the Plaintiff Was in Fact
provided with the Rape Kit test Results from the Following Government Officials
in Wayne County.

KYM K. WORTHY
WAYNE COUNTY PROSECUTOR
144 ST. ANDOINE STREET

DETROIT, MI 48226

2. Plaintiff Was Provided with the RAPE KIT TEST RESULTS AND CONFIRMATION THAT
THE RAPXE KIT TEST RESULTS WERE IN THE POSSESSION OF THE MDOC as that they were
provided to the MDOC by the Wayne County Prosecutor Kym Worthy.

3. Plaintiff is a a Prisoner and Cannot Personally Possess the Kit, but the
Plaintiffs Custodians were entrusted with it in the Interest of Allowing it to
be sent to the Court for the Case At Bar.

4. Plaintiff never claims it was done THROUGH LENAWEE COUNTY CIRCUIT COURT
DISCOVERY as the Defendants Attorneys Have Falsely Lied and Told this Court and
in fact, it was Not even done that way, it was done by The Wayne County
Prosecutor Letting me know that it has been tested and Since I am my Own
Attorney and Have No Attorney of Record, it is very clear that I could not
possibly be given it any other way except from Kym worthy, and it is in hands of
Law Enforcement and Corrections Officials and I am asking that it is allowed to
be placed in the Custody and care of the Court.

The Defendants have lied to this Court and their lie should not be allowed to
Stand and I Completely Reject Theic Lic wholeheartedly reject their lic about
Civil Discovery when it was done through DISCOVERY UNDER CRIMINAL COURT RULES.

Please allow this Clarification to be place don the Court record.

5

Case 5:24-cv-12647-JEL-KGA ECF No. 38, PagelD.753 Filed 11/22/24 Page 2 of5

11-18-24

E.C. Brooks Correctional Facility
2500 S. Sheridan Drive
Muskegon, MI 49444

*
Case 5:24-cv-12647-JEL-KGA ECF No. 38, PagelD.754 Filed 11/22/24 Page3of5

Derrick Lee Cardello-Smith
#267009
E.C. Brooks Correctional Facility
2500 S. Sheridan Drive
Muskegon, MI 49444

11-18-24

Clerk of the Court

U.S. District Court

Theodore Levin US. Courthouse
231 W.Lafayette Blvd

Detroit, MI 48226

Re: Derrick Lee Cardello-Smith v. Sean Combs
Case NO 2:24-cv-12647

Dear Clerk:

Enclosed for filing in the above cause, documents to be placed on the record.

ny,

n you £6

by £ : <
‘Derrick Lee Cardetlo-Saith

Case 5:24-cv-12647-JEL-KGA ECF No. 38, PagelD.755 Filed 11/22/24 Page4of5

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

DERRICK LEE CARDELLO-SMITH, #267009,

Plaintiff,
Case No 2:24-cv-12647
SEAN COMBS, Hon. Judith Levy
Defendant,

PROOF OF SERVICE

I swear that i mailed these documents to the defendants attorney of record by US

Mail on 11-18-24 and all contents with postage paid in full to the Address of
record.

ATEN,

o=Smith

11-18-24

E.C. Brooks Correctional Facility
2500 S. Sheridan Drive
Muskegon, MI 49444
Case 5:24-cv-12647-JEL-KGA ECF,No. 38, PagelD.756 Filed 11/22/24 Page 5of5

opflaffefe|{plteter

*YUDARNOAFVSN ¥

wy” :
fle yell fg ie

i ot

neg cy IW $3 F0I130q
ale raqiesesey pn ee
. iV

3am Har sn

qanop sy3 JO eIDY

+. 9Wd FZOD AON OT.

-€6b IN SdIdva GNVYD

YZ-TI-1T UO peTTeW

_ t6y IW ‘ucseysny
BATG-_UEPPAOYS—" S$-OOST—_ssauppy ©
APT POR [Rut yosaIoy-SyOOIY “OA ~_—'sSasppy
BOOS eqwnN
YA TS -OT SPIE Se] YORI IW AWN

2 °
— om, \
oN
cone oe ees ae,
|
og He! ‘
S2Pr6d2-39¢228t . Hel

